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Fillin this information to identify the case:

 

United States Bankruptcy Court for the:

 

i paps

Case number (itknown): = Chapter aw p ee gore check if this ie an

: BE DA owt nf om uns "amended filing
CuCl CaN +5 Pry C4

Official Form 201 CARY A atc mba

Voluntary Petition for Non-Individuals Filing for Bankruptcy

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name Frabhet LL C

04/20

 

2. All other names debtor used = Au g
in the last 8 years

 

Include any assumed names,

 

trade names, and doing business

 

as names

 

 

3. Debtor’s federal Employer Or _ ( © o q “ [ CO

Identification Number (EIN) OTT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4. Debtor’s address Principal place of business Mailing address, if different from principal place
; | of business
3504 © having /he
Number Street Number Street
. } \! ' 7 an ; P.O. Box
lacy NY GRID]
Ca; Uy AC y ( 2
City O State ZIP Code City State ZIP Code
, 4 Location of principal assets, if different from
Ch cu K principal place of business
County
Number Street
City State ZIP Code
5. Debtor's website (URL) Non ¢

 

 

 

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Debtor

 

Name

Case number (if known)

 

6. Type of debtor

C) Partnership (excluding LLP)
L) Other. Specify:

 

 

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor” must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor”) must
check the second sub-box.

 

A. Check one:

L) Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C} Raitroad (as defined in 11 U.S.C. § 101(44))
CJ Stockbroker (as defined in 11 U.S.C. § 101(53A))
QO) Commodity Broker (as defined in 11 U.S.C. § 101(6))
Q) Clearing Bank (as defined in 11 U.S.C. § 781(3))

None of the above

B. Check all that apply:

Jhtax-exempt entity (as described in 26 U.S.C. § 501)

(J Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

CL) investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http:/Avwww.uscourts.gov/four-digit-national-association-naics-codes .

Check one:

LJ Chapter 7
O Chapter 9
Of chapter 11. Check all that apply:

LJ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

(J The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

LJ A plan is being filed with this petition.

Q Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

(J The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

(J The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

 

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Voluntary Petition for Non-individuals Filing for Bankruptcy page 2
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Debtor

 

Name

 

9. Were prior bankruptcy cases Who
filed by or against the debtor

within the last 8 years? ) Yes.

If more than 2 cases, attach a
separate list.

District When

MM/ DD/YYYY

District When

MM/ DD /YYYY

 

10. Are any bankruptcy cases ie No
pending or being filed by a :

business partner or an UI Yes.

affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

 

Case number (if known).

Case number

Case number

 

Debtor

 

District

 

 

Case number, if known

Relationship

When
MM / DD /YYYY

 

11. Why is the case filed in this Check ail that apply:

district?

} Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

Qa bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor ownorhave &{ No
possession of any real
property or personal property
that needs immediate
attention?

UJ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check aif that apply.)

CD it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

Q) It needs to be physically secured or protected from the weather.

C) it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related

assets or other options).

C2 Other

 

Where is the property?
Number Street

 

 

City

Is the property insured?
LC} No

CQ Yes. Insurance agency

State ZIP Cade

 

Contact name

 

Phone

 

 

 se21st0 and administrative information

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy

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Debtor

 

Name

13. Debtor’s estimation of
available funds

Check one:

Case number (if known)

iS] Funds will be available for distribution to unsecured creditors.

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L) After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

 

WH 1-49

C) 50-99

(J 100-199

CJ 200-999

LY $0-$50,000

CJ $50,001-$100,000
$100,001-$500,000

C) $500,001-$1 million

14. Estimated number of
creditors

   

 

LJ 1,000-5,000

LJ 5,001-10,000
C) 10,001-25,000

CJ 25,001-50,000
CJ 50,001-100,000
LJ More than 100,000

 

(2 $1,000,001-$10 million

CJ $10,000,004-$50 million
CJ $50,000,001-$100 million
LY $100,000,001-$500 million

LJ $500,000,001-$1 billion

(2 $1,000,000,001-$10 billion
C2 $10,000,000,001-$50 billion
O) More than $50 billion

 

 

L) $0-$50,000

L) $50,001-$100,000
CJ $100,001-$500,000
CY $500,001-$1 million

16. Estimated liabilities

J $1,000,001-$10 million

LJ $10,000,001-$50 million
C2 $50,000,001-$100 million
LJ $100,000,001-$500 million

LJ $500,000,001-$1 billion

CJ $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
C) More than $50 billion

 

| | Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to

$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of

debtor petition.

| have been authorized to file this petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

| have examined the information in this petition and have a reasonable belief that the information is true and

correct.

| declare under penalty of perjury that the foregoing is true and correct.

G\ 75 22

Executed on

 
 

 

x Aj, NAvNeer  SHARDA
Signature of au orized representative of debtor Printed name
re So(e_ Mew ber

 

 

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Voluntary Petition for Non-individuals Filing for Bankruptcy

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Debtor Case number (if known),
Name
18. Signature of attorney x
Date

Signature of attomey for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 5
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Debtor name

United States Bankruptcy Court for the:

Case number (If known):

Fill in this information to identify the case:

 

District of
(State)

 

Official Form 204

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L) Check if this is an
amended filing

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders

12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Aliso, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20

largest unsecured claims.

Name of creditor and complete Name,

Name, telephone manner, and Nature of the claim Indicate ff
creditor

| mbsuint of. waiscared cletrn

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mailing address, including zip code _ emall address of |(for example, trade claim is __Iethe claim is fully unsecured, ith oni uvoasinee |
_-eontact idebis, bank loans, contingent, ciaim amount. If claim Is partially secured, fill in
‘professional juntiquidated, Fie Coken arscutt ung ego for value of
: services, and or disputed ‘collateral or. setoff to calculate unsecured claim:
: _govemment
contracts)
1 : Total claim, if | Deduction for Unsecured
\ _ partially value of claim
secured collateral or
Fiv$t Fivanuiel Robart Goad eu Sud men
4 230 Pa cS Rade J WW HOAD g x aw 10e, 0 0
Bah Ste 8-20 |
Pvavegh ka Ken day po jen tas 6
CLC | Tim LyTher mova le h L600 200,000 Lu
a, Co Code Ve Uv hae 7! 200,00 | 450,000
EV NU RTIZY
“Maeva dey ic lwwear Fite Aihavay softness nme
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21 Heme Vit) Cb Con nuhewn 665,000 (5,000 650, 000
- iv Nv Ball?
M pe beep tel: si Ated Akhavan
LUO Home yrew CF SAARY — wWOheum 450000 arhetn 450,000
ee ty fv V4 Sot see waning
Toha doe # . !
Sonn dee | Pend Anan
ehoyal Communcactag — Pep B12 ee |
Peihoyal Commun acta Pwo ee seit mh | aku Unfair Kitkes
ba (lag, T% IS265. .

Official Form 204

 

 

 

 

 

 

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Ciaims

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Debtor Case number (if known)
Name
Name of crediter and complete _ Name, telephone number, and Nature of the claim Indicate if _ Amount of unsecured claim
malling address, including zip code. email address of creditor (for example, trade. claim is “ithe claim is fully unsecured, fillin only unsecured

_ contact ‘debts, bank loans, _ contingent, — ciaim amount. if claim is partially secured, fill in

professional unliquidated, total claim amount and deduction for value of

Services, and or disputed collateral of setoff to calculate unsecured claim.

‘goverment :

contracts) : ,

: Total claim, if | Deduction for Unsecured
partially value of claim
secured collateral or

setoff

9
10
11
12
13
14
15
16
(7
18
19
20

 

 

 

Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 2
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Certificate Number: 15725-NV-CC-035272250

UU

15725-NV-CC-035272250

CERTIFICATE OF COUNSELING

I CERTIFY that on January 15, 2021, at 4:23 o'clock PM EST, Navneet Sharda
received from 001 Debtorcc, Inc., an agency approved pursuant to 11 U.S.C. 111
to provide credit counseling in the District of Nevada, an individual [or group]
briefing that complied with the provisions of 11 U.S.C. 109(h) and 111.

 

 

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: January 15, 2021 By: /s/Ambar Vasquez
Name: Ambar Vasquez

Title: Issuer

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).

 

 

 

 

 
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Jan 15, 2021

Statement of Debtor

| do not have the Balance Sheet, Statement of Operations, Cash Flow Statement as it has not

been done and my bookkeeper was unable to assist me this week. There is no tax return as this
is a single member LLC.

Prabhat, LLC
{
~
" Oy a
Pe 4 Qu i
NavneetSharda

Sole Member
